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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

              Plaintiff,

              v.                                                   Case No. 16-20032-02-JAR

 KARL CARTER,

              Defendant.


                                    MEMORANDUM AND ORDER

        On August 13, 2019, this Court issued its Findings of Fact and Conclusions of Law

(“August 13 Order”) relating to allegations that the Government violated the Sixth Amendment

rights of Defendants in this case and others detained at the Corrections Corporation of America

(“CCA”) by obtaining soundless video recordings of attorney visitation rooms and audio

recordings of telephone calls between several detainees and their counsel.1 The Court appointed

Special Master David Cohen to investigate, and he conducted an almost three-year investigation

into these issues, culminating in a two-week evidentiary hearing. The Court’s lengthy August 13

Order addressed the evidence adduced at the hearing on the Government’s cooperation with the

Special Master’s investigation, as well as on the merits of the Sixth Amendment allegations. The

Court made sanctions determinations and ruled on several common legal issues that implicate the

Sixth Amendment analysis as to all affected litigants. Because the Court determined that any

remaining findings must be made in the context of individual detainees’ cases, the Court




        1
          Doc. 758. CCA is a detention facility located in Leavenworth, Kansas. It has since been renamed
CoreCivic. The Court refers to it throughout this opinion as CCA.
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provided a roadmap for managing the more-than 100 cases under 28 U.S.C. § 2255 that would

follow when this case concludes. That litigation is now well underway.

       As part of its August 13 Order, the Court found that the Government willfully violated

myriad Court orders and Special Master directives, and imposed monetary sanctions for these

violations. However, because the Federal Public Defender’s (“FPD”) entitlement to and the

amount of fees was not fully briefed by the parties, the Court directed supplemental briefing.

Now before the Court is the Federal Public Defender’s Application for Attorneys’ Fees and

Litigation Expenses (Doc. 784). The Government has responded and the Court is prepared to

issue its final ruling in this matter. For the reasons explained below, the Court denies the motion

because sovereign immunity bars any monetary award of sanctions against the Government, and

vacates its August 13 Order to the extent it issued an award of defense costs associated with the

Government’s failure to cooperate.

I.     Relevant Findings of Fact and Conclusions of Law from the August 13, 2019 Order

       The issue of cooperation with the investigation into the Government’s Sixth Amendment

violations was squarely before the Court at the time of the 2018 evidentiary hearing. Defendant

Carter alleged failure to cooperate in his motion to dismiss, still pending at the time of the

evidentiary hearing. The FPD, who intervened to represent non-party detainees at CCA during

the time the alleged violations occurred, raised these issues in several motions for orders to show

cause why the Government should not be held in contempt, including a short supplemental

motion to show cause seeking a compensatory award of “defense costs.”2 The Special Master

issued reports, outlining the Government’s failure to cooperate. And after the final subpoenas

duces tecum were issued to the Government in August 2018, the Government indicated on the


       2
           Doc. 585.




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record that it would not fully produce responsive documents by the deadline set forth in the

subpoenas. Therefore, the Court’s August 13 Order contained extensive findings about the

Government’s cooperation with court orders, Special Master directives, and subpoenas related to

the underlying investigation. Those findings were relevant not only to resolving motions, but

also because the lack of cooperation impacted the Court’s credibility determinations on the

merits.3

        The Court set forth in painstaking detail the Government’s failure to cooperate in the

following ways: (1) by failing to preserve material evidence with knowledge that it may be lost,

leading to potential spoliation and delays; (2) by deliberately failing to make key United States

Attorney’s Office (“USAO”) personnel available to the Special Master; and (3) by refusing to

produce documents requested by the Special Master. The Court determined that the

investigation into Sixth Amendment violations was civil in nature, for purposes of determining

that civil discovery standards guide the remedy for failure to cooperate. As to spoliation, the

Court determined there was insufficient evidence in the context of this case to show that logging

data from the so-called AVPC could not be restored—a required element under Fed. R. Civ. P.

37(e) to impose spoliation sanctions.4 As to the USAO’s failure to implement a litigation hold,

spoliation sanctions for lost electronically-stored information (“ESI”) must be considered in

individual detainee cases under § 2255.

        The Court also addressed whether non-spoliation sanctions were appropriate for the

Government’s violation of preservation, cooperation, and production orders. The Court began

by noting that under civil discovery standards, the remedy for failure to comply with court orders


        3
            See Doc. 758 at 143.
         4
           The AVPC was a desktop computer assigned to and under the control of USAO Litigation Support
Specialist Pauletta Boyd that contained the software necessary to view the CCA video recordings. Id. at 34–35.




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is governed by Fed. R. Civ. P. 37(b), which provides several permissible sanctions, including

contempt. The Court also noted its inherent authority to “fashion an appropriate sanction for

conduct which abuses the judicial process,”5 which it acknowledged must be exercised with

restraint and discretion.”6 After setting forth the many Court orders and Special Master

directives that the Government violated by failing to preserve, produce, and cooperate, the Court

determined that a compensatory sanction should be imposed under its inherent authority in order

to remedy the additional time expended by the FPD as a result of the Government’s actions.

        The Court requested supplemental briefing from the parties on this issue because the

prior briefing on monetary sanctions was superficial and did not adequately address causation.

Thus, the Court directed the parties to brief the FPD’s entitlement to and amount of defense costs

that should be awarded given the Court’s extensive factual findings in the August 13 Order.

        The FPD filed its brief on September 24, 2019,7 setting forth the hours it claims to be

compensable and the basis for its claim that such hours were expended due to misconduct

described by the Court in its August 13 Order. The FPD further addressed its rates and expenses,

and contends that the United States waived its sovereign immunity in this matter under the Equal

Access to Justice Act (“EAJA”).

        The Government filed its brief on October 15, 2019.8 More than half of its brief

challenges the Court’s findings that the Government willfully violated Court orders and Special

Master directives, including rehashing its previously-litigated arguments that the Court and

Special Master lacked authority to direct preservation, cooperation, and production. The


        5
          Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (citing Chambers v. NASCO, Inc.,
501 U.S. 32, 44–45 (1991)).
        6
            Chambers, 501 U.S. at 44 (citing Roadway Express, Inc. v. Piper, 447 U.S. 752, 764 (1980)).
        7
            Doc. 784.
        8
            Doc. 788.




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Government also addressed the FPD’s causation showing as to various categories of attorney

time, and challenges any monetary award under the doctrine of sovereign immunity and the

Appropriations Clause of the United States Constitution.

II.    Discussion

       A.      Scope

       The Court’s extensive August 13 Order ruled on all remaining motions in the case and

dismissed the only remaining defendant, Karl Carter. Two narrow issues remain for which the

Court directed supplemental briefing: the FPD’s entitlement to monetary inherent authority

sanctions and the reasonable amount of fees and costs that should be awarded based on the

Court’s findings that the Government willfully violated myriad Court orders and Special Master

directives. The Court made clear that supplemental briefing was necessary because causation

and amount were not fully briefed. But the Court did not direct supplemental briefing on any

other issue, including its conclusive findings that the Government violated Court orders and

Special Master directives. Those underlying violations were fully litigated and the Government

was heard. Therefore, this Order does not address the Government’s many arguments that seek

to relitigate whether its conduct is sanctionable; such issues were decided after careful review

and judgment and were not within the scope of the briefing order. The Government does not

move to reconsider, nor will the Court construe the brief as such. Accordingly, this Order is

limited to ruling on the narrow issues for which the Court sought additional input from the

parties: whether the FPD is entitled to a compensatory award under its inherent authority for the

specific misconduct detailed by the Court in its August 13 Order, and if so, in what amount?

       B.      Sovereign Immunity




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         For the first time in their supplemental briefing, the parties raise the threshold issue of

sovereign immunity. Unless there is a valid waiver of sovereign immunity, the United States is

immune from actions for attorneys’ fees.9 “Waivers of the Government’s sovereign immunity,

to be effective, must be ‘unequivocally expressed,’” 10 by Congress, and “must be construed

strictly in favor of the sovereign.”11 One source for this waiver requirement is the

Appropriations Clause in the United States Constitution, which “forbids a ‘court [to] authorize

payment from the Treasury [absent] congressional authorization.’”12

         The Government argues that a monetary sanction of attorneys’ fees is prohibited by the

doctrine of sovereign immunity, while the FPD contends there is a waiver. The FPD argues that

Congress’s waiver of sovereign immunity in the EAJA applies here because the sanctions are

civil. The EAJA provides:

                     (b) Unless expressly prohibited by statute, a court may award
                     reasonable fees and expenses of attorneys, in addition to the costs
                     which may be awarded pursuant to subsection (a), to the prevailing
                     party in any civil action brought by or against the United States or
                     any agency or any official of the United States acting in his or her
                     official capacity in any court having jurisdiction of such action.
                     The United States shall be liable for such fees and expenses to the
                     same extent that any other party would be liable under the common
                     law or under the terms of any statute which specifically provides
                     for such an award.13




         9
             Ruckelshaus v. Sierra Club, 463 U.S. 680, 685 (1983).
        10
           United States v. Nordic Village Inc., 503 U.S. 30, 33 (1992) (quoting Irwin v. Dep’t of Veterans Affairs,
498 U.S. 89, 95 (1990)).
         11
              Id. at 34 (quoting McMahon v. United States, 342 U.S. 25, 27 (1951)).
         12
           Alexander v. FBI, 541 F. Supp. 2d 274, 301 (D.D.C. 2008) (quoting In re North, 62 F.3d 1434, 1436
(D.C. Cir. 1994) (discussing U.S. Const. art. I, § 9, cl. 7)).
         13
              28 U.S.C. § 2412(b).




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The FPD relies on this Court’s previous finding that the FPD’s Rule 41(g) motion that triggered

the Special Master’s investigation was civil in nature in arguing that the EAJA applies to the

Court’s inherent authority sanctions award.

        The EAJA applies where there is an award of attorney fees to a “prevailing party in a

civil action.”14 While this Court found the Special Master’s investigation to be “civil in nature,”

for purposes of determining the source of the Government’s discovery obligations, it does not

follow that a Rule 41(g) motion is a “civil action” for which the FPD as an intervenor is a

“prevailing party” under the EAJA. Several circuit courts, including the Tenth Circuit, have held

that sovereign immunity bars an award of money damages in the context of a Rule 41(g) motion

because the Federal Rules of Criminal Procedure do not expressly provide for monetary relief.15

Under the strict rules of construction that apply to waivers of sovereign immunity, the Court

cannot conclude that the EAJA waives sovereign immunity for a monetary award issued under

the Court’s inherent authority on the basis that those sanctions relate to an underlying Fed. R.

Crim. P. 41(g) motion.

        The FPD cites Adamson v. Bowen,16 where the Tenth Circuit considered whether the

EAJA waives immunity for monetary sanctions imposed under Fed. R. Civ. P. 11. The court

held that the EAJA does waive sovereign immunity as to fees awarded under the Federal Rules

of Civil Procedure, specifically Rule 11.17 Adamson does not apply here for two reasons. First,

the August 13 Order makes clear that this Court was imposing a monetary sanction under its



        14
             Id.
        15
           See, e.g., Clymore v. United States, 415 F.3d 1113, 1119–20 (10th Cir. 2005); United States v. Droganes,
728 F.3d 580, 589–90 (6th Cir. 2013); Ordonez v. United States, 680 F.3d 1135, 1138–39 & n.2 (9th Cir. 2012)
(collecting cases).
        16
             855 F.2d 668 (10th Cir. 1988).
        17
             Id. at 671–72.




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inherent authority, not the federal rules. Adamson does not address inherent authority sanctions.

Second, Adamson was undisputedly a “civil action” in which the EAJA applied, and the

sanctions were awarded to the party-plaintiff, who was already determined to be a prevailing

party in the social security appeal.

         More on point, there is significant authority that sovereign immunity bars an award of

monetary sanctions made under the Court’s inherent authority. In United States v. Horn,18 the

First Circuit extensively addressed this issue. Before that court was an order by the district court

directing the Government to pay the fees and costs incurred by defendants in litigating

prosecutorial misconduct by Government attorneys. The district court also imposed non-

monetary sanctions against the Government, including in limine orders designed to cure

prejudice resulting from the prosecutorial misconduct, and removing the lead prosecutor from

the case. The First Circuit characterized the doctrines of sovereign immunity and supervisory

power as being “in unavoidable tension,” and held that “sovereign immunity ordinarily will

trump supervisory power in a head-to-head confrontation.”19 The court explained:

                           We will not paint the lily. Neither policy nor precedent
                   supports the proposition that the separation of powers requires
                   taking the quantum leap essayed by the court below. Leaving
                   monetary imposts to one side, the range and reach of other
                   sanctions, remedial and punitive, that are available to federal
                   criminal courts permit those courts to administer their dockets and
                   conduct judicial business with a sufficiently free hand. Courts, like
                   litigants, must abide by certain rules—and to the extent that
                   sovereign immunity curbs judicial power, the restraint is tolerable
                   in the constitutional sense. In the last analysis, then, appellees’
                   contention that criminal courts are left impotent if they are
                   deprived of the power to shift fees as a sanction against the
                   government is as empty as a mendicant’s purse.



       18
            29 F.3d 754 (1st Cir. 1994).
       19
            Id. at 764.




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                            To summarize, none of the various possible detours
                    manage to bypass the barrier of sovereign immunity. We hold,
                    therefore, that fee-shifting against the government can be
                    accomplished only in conjunction with the passage of a statute (or
                    a sufficiently explicit rule having the force of a statute) that
                    authorizes such an award. In the absence of such an enactment, the
                    secondary principle of sovereign immunity saves the federal
                    government harmless from all court-imposed monetary
                    assessments, regardless of their timing and purpose.20

        This Court finds Horn to be persuasive authority that monetary sanctions imposed under

the Court’s inherent authority against the Government are barred by the doctrine of sovereign

immunity. The FPD argues that Horn only applies in the criminal context. As already

discussed, although this Court applied civil discovery standards to the Special Master’s

investigation, it does not follow that the waiver analysis for purposes of sovereign immunity

flows from these civil rules. Moreover, the Court does not read Horn so narrowly. The First

Circuit undertook an extensive analysis of the two doctrines, carefully considering the various

ways around a sovereign immunity defense to a sanctions award against the Government under

the Court’s inherent authority. The three “detours” around sovereign immunity discussed and

rejected by that court equally apply in the civil and criminal context: (1) waiver; (2) the court’s

supervisory power overrides sovereign immunity; and (3) sovereign immunity does not apply to

monetary sanctions imposed under the court’s supervisory authority.21

        To be sure, the waiver analysis will differ in the civil and criminal context because the

sources of waiver are different—the EAJA and the civil rules may constitute waiver in the civil




          20
             Id. at 767; see also Droganes, 728 F.3d at 590; Alexander v. FBI, 541 F. Supp. 2d 574, 301–02 (D.D.C.
2008); Coastal Env’l Grp., Inc. v. United States, 118 Fed. Cl. 15, 30 (Fed. Cl. 2014). One circuit judge has argued
that inherent authority sanctions are never permissible to punish attorney misconduct in criminal cases. See United
States v. Aleo, 681 F.3d 290, 306–12 (6th Cir. 2012) (Sutton, J., concurring). The Court need not reach that issue
here.
        21
             Horn, 29 F.3d at 764.




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context, while the Hyde Amendment applies in the criminal context.22 Nonetheless, there is no

applicable waiver under the EAJA, the civil rules, or the Hyde Amendment in this case.

         The First Circuit characterized the argument that the Court’s supervisory power overrides

sovereign immunity as a “dead end,” because it is Congress, and not the courts, that is authorized

to waive sovereign immunity.23 And the court extensively analyzed the argument that sovereign

immunity only bars monetary awards, but not monetary sanctions, explicitly rejecting it in both

the civil and criminal context.24 As the Horn court forcefully relays, the doctrine of sovereign

immunity is mandatory and proceeds by fiat, as compared to the supervisory authority doctrine,

which is “discretionary and carefully circumscribed.”25 This conclusion was not dictated by the

criminal nature of the case. In this Court’s view, in the absence of explicit waiver, that standard

dictates the conclusion in this case that sovereign immunity bars the monetary sanctions award

contemplated by this Court’s August 13 Order.

         Although not cited by the FPD, the Court acknowledges that the Fifth Circuit has issued

two decisions in the civil context holding that a district court’s broad supervisory power to

sanction is not barred by sovereign immunity because the Government is subject to the same

ethical and procedural rules as private litigants.26 But in the absence of Tenth Circuit authority,

this Court finds the safer course is to follow the lead of the First and Sixth Circuits in holding



         22
            Droganes, 728 F.3d at 590 (discussing waivers in civil and criminal cases). The Hyde Amendment
permits a court to impose sanctions against the Government where the decision to prosecute is “vexatious, frivolous,
or in bad faith.” 18 U.S.C. § 3006A.
         23
              Horn, 29 F.3d at 764.
         24
           See id. at 765–67 (“The simple, unarguable fact is that any and all such fee awards would deplete the
public coffers, and, consequently, they all must stand on the same footing vis-à-vis principles of sovereign
immunity.”).
         25
              Id. at 764.
         26
            FDIC v. Maxxam, Inc., 523 F.3d 566 (5th Cir. 2008); Bradley v. United States, 866 F.2d 120, 128 (5th
Cir. 1989).




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that the Court’s inherent authority to award sanctions is cabined by the doctrine of sovereign

immunity.27 The Fifth Circuit’s 2008 decision in FDIC v. Maxxam, Inc. neither addressed Horn

nor discussed the separation of powers principles at the heart of Horn’s analysis.28 Instead, the

court relied on an earlier Fifth Circuit decision that was decided prior to Horn and similarly

failed to address the doctrinal grounds for its conclusion that the court’s supervisory power to

sanction is not barred by sovereign immunity, even in the absence of Congressional waiver.29

         The Court also acknowledges that one district court within the First Circuit imposed a

deferred inherent authority monetary sanction against a specific prosecutor based on that

prosecutor’s Brady violations after making extensive findings that alternative non-monetary

sanctions had been ineffective to curb similar prosecutorial abuses by that prosecutor’s office

over a lengthy period of time.30 That court determined that such sanctions would not run afoul of

Horn under the circumstances.31 In this case, the non-monetary sanctions set forth in Fed. R.

Civ. P. 37(b) were impractical or redundant given the procedural posture of the case at the time

of decision. The Court’s August 13 Order granted the Rule 41(g) motion and granted the only

remaining defendant’s unopposed motion to dismiss. There were no further non-monetary

sanctions in the Court’s arsenal to address the Government’s discovery misconduct in the context

of this case that could have cured the prejudice to the FPD in this case.



         27
              Horn, 29 F.3d at 767; Droganes, 728 F.3d at 590.
         28
              See Maxxam, Inc., 523 F.3d at 594–96.
         29
           Id. at 596 (discussing Bradley, 866 F.2d at 127). The Maxxam court also relied on the Ninth Circuit’s
decision in United States v. Woodley, 9 F.3d 774, 781 (9th Cir. 1991), which stated without further analysis that
sovereign immunity does not bar an otherwise appropriate monetary sanctions award imposed under the Court’s
inherent authority. Like Bradley, this case was decided before Horn, which squarely rejected the premise for
Woodley’s holding—that inherent authority sanctions fall outside the purview of sovereign immunity. Horn, 29
F.3d at 765–66.
         30
              United States v. Jones, 620 F. Supp. 2d 163, 179–80 (D. Mass. 2009).
         31
              Id.




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        For this reason, the Court determined that a sanction should be imposed under the Court’s

inherent authority to the extent the FPD could show a causal connection between the

Government’s discovery abuses and particular fees incurred by that office.32 The Court

continues to believe that, but for sovereign immunity, compensation would be warranted in this

case given the repeated and willful violations documented in the August 13 Order. The

Government’s misconduct increased the time expended by the Court, the Special Master, and the

FPD in investigating, litigating, and deciding the Sixth Amendment allegations against the

Government. And the procedural posture of this case left the Court with few options to

compensate for the FPD’s loss of time and money because the factual disputes were not resolved

until the end of the case. But the record here does not allow the Court to narrowly impose

monetary sanctions on a specific prosecutor; the Court’s award contemplated a sanction on the

entire office. In sum, the Court does not find that the circumstances of this case provides for the

kind of narrow relief that might except it from the rule that sovereign immunity bars a monetary

sanction against the Government.

        The Sixth Amendment issues and the discovery obtained through the Special Master’s

investigation are now before the Court in the context of individual habeas cases that are in the

beginning stages of discovery and motions practice. Similar to the Court’s ruling on the FPD’s

request for spoliation sanctions, the FPD may be able to make a particularized showing that non-

monetary sanctions are in order in one or more of its many pending 28 U.S.C. § 2255 cases

designed to cure specific prejudice that resulted from the non-spoliation discovery abuses

outlined in the August 13 Order. Or, perhaps the sovereign immunity waiver analysis will be


        32
          Despite finding that the Government willfully disregarded several court orders, the Court did not impose
contempt sanctions. There is a wealth of authority that the federal contempt statute, 18 U.S. C. § 401, does not
waive sovereign immunity from monetary sanctions. See, e.g., Horn, 29 F.3d at 764 n.11; Coleman v. Espy, 986
F.2d 1184, 1190–91 (8th Cir. 1993); Alexander v. FBI, 541 F. Supp. 2d 574, 300 (D.D.C. 2008).




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different in the context of those civil cases. But non-spoliation sanctions, despite being

warranted, are either impracticable or barred by sovereign immunity in the context of this now-

closed case. Thus, the Court must deny the FPD’s application for defense fees and costs.

       IT IS THEREFORE ORDERED BY THE COURT that the Federal Public Defender’s

Application for Attorneys’ Fees and Litigation Expenses (Doc. 784) is denied. The Court’s

August 13, 2019 Order is vacated to the limited extent it awarded defense costs associated with

the Government’s failure to cooperate.

       IT IS SO ORDERED.

       Dated: January 28, 2020

                                                   S/ Julie A. Robinson
                                                   JULIE A. ROBINSON
                                                   CHIEF UNITED STATES DISTRICT JUDGE




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